Case 2:14-cv-02674-SRB Document1 Filed 12/12/14 Page 1 of 28

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DISTRICT OF ARIZONA
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CV-14-02674-PHX-PGR

SEALED

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF ARIZONA

UNITED STATES OF AMERICA, ex rei.
KATHLEEN HAWKINS

Plaintiff and Relator,
Vv.

TENET HEALTHCARE CORPORATION;
VANGUARD HEALTH FINANCIAL COMPANY
LLC d/b/a VANGUARD HEALTH SYSTEMS
d/b/a ABRAZO HEALTH; VHS ACQUISITION
SUBSIDIARY NUMBER 1, INC. d/b/a
PARADISE VALLEY HOSPITAL; VHS
ACQUISITION CORPORATION d/b/a
MARYVALE HOSPITAL; VHS OF
ARROWHEAD, INC. d/b/a ARROWHEAD
HOSPITAL; HOSPITAL DEVELOPMENT OF
WEST PHOENIX, INC. d/b/a WEST VALLEY
HOSPITAL; VHS OF PHOENIX, INC. d/b/a
PHOENIX BAPTIST HOSPITAL; and ARIZONA
HEART HOSPITAL, LLC d/b/a ARIZONA
HEART HOSPITAL

Defendants.

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Civil Action No.:

FILED UNDER SEAL PURSUANT
TO 31 U.S.C. § 3730(b)(2) AND
LOCAL RULE 5.7

FALSE CLAIMS ACT COMPLAINT

JURY TRIAL DEMANDED

FALSE CLAIMS ACT COMPLAINT

1

Case 2:14-cv-02674-SRB Document1 Filed 12/12/14 Page 2 of 28

INTRODUCTION

1. KATHLEEN HAWKINS ("Relator") brings this action on behalf of the UNITED
STATES OF AMERICA against TENET HEALTHCARE CORPORATION; VANGUARD
HEALTH FINANCIAL COMPANY LLC d/b/a VANGUARD HEALTH SYSTEMS
SUBSIDIARY NUMBER 1, INC. d/b/a PARADISE VALLEY HOSPITAL; VHS ACQUISITION
CORPORATION d/b/a MARYVALE HOSPITAL; VHS OF ARROWHEAD, INC. d/b/a
ARROWHEAD HOSPITAL; HOSPITAL DEVELOPMENT OF WEST PHOENIX, INC. d/b/a
WEST VALLEY HOSPITAL; VHS OF PHOENIX, INC. d/b/a PHOENIX BAPTIST HOSPITAL;
and ARIZONA HEART HOSPITAL, LLC d/b/a ARIZONA HEART HOSPITAL, for treble
damages and civil penalties arising from the Defendants’ conduct in violation of the Federal Civil
False Claims Act, 31 U.S.C. § 3729, et seq. (“FCA”). The violations arise out of requests for
payment by Medicare, Medicaid, and other government agencies and programs (hereinafter,
collectively the “Government Healthcare Programs") based on false claims.

2. Defendants knowingly failed to be the medical necessity gatekeepers of their own
hospital doors, resulting in increased costs to Government Healthcare Programs and increased harm
to patients. In doing so, Defendants submitted false and non-covered, medically unnecessary claims
to Government Healthcare Programs for inpatient admissions. Further Defendants knowingly
submitted claims for 100% medically unnecessary procedures and services, including cardiac and
carotid stent procedures, solely for financial gain.

3. Defendants are diverting scarce health care dollars into their own pockets by billing
for many inpatient services that should be provided on an outpatient basis. Defendants are also
endangering the patients they serve. Hospitalization poses significant physical and psychological
risks to patients. The elderly are particularly susceptible to hospital-acquired infections, adverse
drug reactions and hospital delirium; they should be hospitalized only when their medical needs

cannot be adequately addressed elsewhere.

FALSE CLAIMS ACT COMPLAINT
2

Case 2:14-cv-02674-SRB Document1 Filed 12/12/14 Page 3 of 28

4. Relator is informed and believes that the false claims described herein began at least

six (6) years before the filing of Relator’s Complaint, and some continue to date.

FEDERAL JURISDICTION AND VENUE

5. The acts proscribed by 31 U.S.C. §3729 et seg. and complained of herein occurred in
part in the District of Arizona, and several of the Defendants do business in the District of Arizona.
Therefore, this Court has jurisdiction pursuant to 31 U.S.C. § 3732 (a), as well as under 28 U.S.C. §
1345, and 28 U.S.C. § 1331.

6. Venue is proper in this District pursuant to 31 U.S.C. § 3732(a), because one or more
Defendants reside in this District, and one or more Defendants transact business in this District.

7. The facts and circumstances which give rise to Defendants’ violation of the False
Claims Act have not been publicly disclosed in a criminal, civil, or administrative hearing, nor in
any congressional, administrative, or General Accounting Office report, hearing, audit, or
investigation, nor in the news media.

8. Relator is the original source of the information upon which this complaint is based,

as that phrase is used in the False Claims Act and other laws at issue herein.

PARTIES

9. Relator, Kathleen Hawkins, is a resident of the State of Arizona.

10. Defendant, Tenet Healthcare Corporation (“Tenet”), is a Nevada for-profit
corporation with its principal place of business in Dallas, Texas. As of December 3 1, 2013, Tenet
operated 77 hospitals, 183 outpatient centers, six health plans, and six accountable care networks.
Tenet acquired Defendant Vanguard in or about October 1, 2013, and it has been a subsidiary of
Tenet since then.

11. Defendant, Vanguard Health Financial Company, LLC d/b/a Vanguard Health

Systems, d/b/a Abrazo Health (“Vanguard”), is a Delaware corporation with its principal place of

FALSE CLAIMS ACT COMPLAINT
3

27

28

Case 2:14-cv-02674-SRB Document1 Filed 12/12/14 Page 4 of 28

business located in Nashville, Tennessee. It was acquired by Tenet on or around October 1, 2013,

and since then, is a subsidiary of Tenet. Its Arizona facilities at all material times are known

collectively as “Abrazo Health,” and are: Arizona Heart Hospital, Arrowhead Hospital, Paradise

Valley Hospital, Maryvale Hospital, Phoenix Baptist Hospital, and West Valley Hospital

(hereinafter when referred to collectively as the “Defendant Hospitals” or “Abrazo Health

hospitals”).

12. Each Abrazo Health hospital is individually incorporated as follows:

a.

Defendant VHS Acquisition Subsidiary Number 1, Inc. d/b/a Paradise Valley
Hospital (“Paradise”) is a Delaware corporation registered to conduct business in
Arizona. It is a wholly-owned subsidiary of Vanguard.

Defendant VHS Acquisition Corporation d/b/a Maryvale Hospital (“Maryvale”)
is a Delaware corporation registered to conduct business in Arizona. It is a
wholly-owned subsidiary of Vanguard.

Defendant VHS of Arrowhead Inc. d/b/a Arrowhead Hospital (“Arrowhead”) is a
Delaware corporation registered to conduct business in Arizona. The hospital is
an affiliate of Abrazo Health Care, as of 1999, and is a wholly-owned subsidiary
of Vanguard.

Defendant Hospital Development of West Phoenix, Inc. d/b/a West Valley
Hospital (“West Valley”) is a Delaware corporation registered to conduct
business in Arizona and is a wholly-owned subsidiary of Vanguard.

Defendant VHS of Phoenix Inc. d/b/a Phoenix Baptist Hospital (“Phoenix
Baptist”) is a Delaware corporation registered to conduct business in Arizona and
is a wholly-owned subsidiary of Vanguard.

Defendant Arizona Heart Hospital, LLC d/b/a Arizona Heart Hospital (“Arizona
Heart”) is an Arizona limited liability company. Arizona Heart is a subsidiary of

VHS of Phoenix Inc., and since 2010, a subsidiary of Vanguard.

FALSE CLAIMS ACT COMPLAINT
4

27

28

Case 2:14-cv-02674-SRB Document1 Filed 12/12/14 Page 5 of 28

THE FALSE CLAIMS ACT

13. The False Claims Act provides, in pertinent part that:

(a) Any person who (1) knowingly presents, or causes to be
presented, to an officer or employee of the United States
Government or a member of the Armed Forces of the United
States a false or fraudulent claim for payment or approval; (2)
knowingly makes, uses, or causes to be made or used, a false
record or statement to get a false or fraudulent claim paid or
approved by the Government; (3) conspires to defraud the
Government by getting a false or fraudulent claim paid or
approved by the Government;

* OK OK
is liable to the United States Government for a civil penalty of
not less than $5,000 and not more than $10,000, plus 3 times
the amount of damages which the Government sustains
because of the act of that person.

31 U.S.C. § 3729.

14. The False Claims Act is the government’s primary tool to recover losses due to fraud
and abuse by those seeking payment from the United States. See S. Rep. No. 345, 99 Cong., 2nd
Sess. at 2 (1986) reprinted in 1986 U.S.C.C.A.N 5266.

GOVERNMENT HEALTHCARE PROGRAMS REIMBURSEMENT

Medicare

15. Medicare is a federally funded health insurance program primarily for the elderly.
Medicare was created in 1965 in Title XVIII of the Social Security Act. Medicare has several parts
including: Part A, the Basic Plan of Hospital Insurance, which covers the cost of hospital services
and related ancillary services; and Part B, which covers the cost of physicians’ services hospital
outpatient services and other ancillary services not covered by Part A.

16. Medicare Part A covers the cost of hospital services and related care, and reimburses
hospitals for services provided to its beneficiaries by means of a prospective payment system

("PPS "),

FALSE CLAIMS ACT COMPLAINT
5

Case 2:14-cv-02674-SRB Document1 Filed 12/12/14 Page 6 of 28

17. Under the PPS, Medicare pays a fixed amount of money for hospital admissions of
Medicare beneficiaries determined by the Diagnostic Related Group (DRG) into which the
beneficiaries fall. This means that a pre-determined, fixed and set all or nothing Medicare payment
is made to hospitals based on the DRG assigned to the specific beneficiary so long as the hospital
admission is medically necessary.

18. The Medicare program assigns DRG’s a particular weight by which a uniform
federal rate is multiplied. The more complicated and costlier the treatment is, the greater the weight
to be assigned to that particular DRG. Under the PPS, to calculate the final DRG prospective
payment rate for a patient discharged, the Secretary of Health and Human Services takes the federal
rate, adjusted according to a locality-based wage index, and then multiplies it by the weight
assigned to the patient’s DRG. By statutory mandate, the Secretary must publish the weights and
values that are to be factored into the prospective payment calculus before each fiscal year. See 42
U.S.C. § 1395ww(d)(6).

19. Under Medicare Part A, hospitals submit claims for payment for inpatient services
after the patient has been discharged from the hospital. Initially, hospitals submit a patient-specific
claim for interim payment for each discharged Medicare patient on Form CMS-1450, also called
Form UB-04.

20. Hospitals submit patient-specific claims for outpatient services under Medicare Part
B. Medicare uses Ambulatory Payment Classifications (“APCs”) to determine reimbursement rates
for hospital outpatient services. Under the APC system, outpatient services provided to a patient are
assigned to a “classification” and reimbursed at a rate set by Medicare for that classification. More
complex services are assigned to classifications with higher reimbursement rates. The number of
diagnostic tests ordered may influence the classification of hospital outpatient services provided in
the ER, and hence the reimbursement rate.

21. In addition to these interim patient-specific claims, hospitals annually submit Form

CMS-2552, commonly known as the Hospital Cost Report. 42 U.S.C. §1395g(a); 42 C.F.R. §

FALSE CLAIMS ACT COMPLAINT
6

27

28

Case 2:14-cv-02674-SRB Document1 Filed 12/12/14 Page 7 of 28

413.20. The cost report is the provider’s final claim for payment from the Medicare program for the
services rendered to all program beneficiaries for a fiscal year. Medicare relies on the Hospital Cost
Report to determine whether the provider is entitled to more reimbursement than already received

through interim payments, or whether the provider has been overpaid and must reimburse Medicare.

42 C.F.R. §§ 405.1803, 413.60 and 413.64(f)(1).

Medicaid

22. Medicaid was also created in 1965 under Title XIX of the Social Security Act.
Funding for Medicaid is shared between the Federal Government and those states participating in
the program. Thus, under Title XIX of the Social Security Act ("Medicaid"), 42 U.S.C. § 1396 et
seq., federal money is distributed to the states, which in turn provide certain medical services to the
poor.

23. Federal Medicaid regulations require each state to designate a single state agency
responsible for the Medicaid program. The agency must create and implement a “plan for medical
assistance” that is consistent with Title XIX and with the regulations of the Secretary of the United
States Department of Health and Human Services ("the Secretary"). After the Secretary approves
the plan submitted by the State, the state is entitled each quarter to be reimbursed for a percentage
of its expenditures made in providing specific types of “medical assistance” under the plan. 42
U.S.C. § 1396b(a)(1). This reimbursement is called “federal financial participation” (“FFP”).

24. Medicaid generally follows Medicare as to the medical necessity of inpatient

admissions, utilization review, etcetera, in all material respects.

TRICARE
25. | TRICARE is the component agency of the U.S. Department of Defense that
administers and supervises the health care program for certain military personnel and their

dependents.

FALSE CLAIMS ACT COMPLAINT

7

Case 2:14-cv-02674-SRB Document1 Filed 12/12/14 Page 8 of 28

26. | TRICARE contracts with a fiscal intermediary that receives, adjudicates, processes
and pays health care claims submitted to it by TRICARE beneficiaries or providers. The funds used
to pay the TRICARE claims are government funds.

27. TRICARE assigns a “provider number” to suppliers who wish to participate in the
program. In order to obtain reimbursement for services, the suppliers bill an insurance carrier
designated by TRICARE, which insurance carrier in turn ultimately receives payment by funds
from the United States.

28. An explicit tenet of the TRICARE system is that its DRG-based payment system is
modeled on the Medicare PPS, and that, whenever practical, the TRICARE system will follow the
same rules that apply to the Medicare PPS. See Civilian Health And Medical Program Of the
Uniformed Services; Fiscal Year 2004 Diagnosis-Related Group Updates, 68 Fed. Reg. 206, 60970.

MEDICARE LAW AND REGULATIONS

Medical Necessity

29. In addition to compliance with other national or local coverage criteria, Medicare
requires as a condition of coverage that services be reasonable and medically necessary. 42 U.S.C. §
1395 y(a)(1)(A). Federal law and regulations require that any health care provider who furnishes
health care services that may be reimbursed under Medicare, Medicaid or TRICARE must ensure
that, to the extent of his or her authority, those services are provided “only when, and to the extent,
medically necessary.” (42 U.S.C.A. § 1320c-5(a); 42 C.F.R. § 1004.10.) This requirement makes
the health care provider the “gatekeeper” who, through the exercise of his or her unbiased medical
judgment, plays a critical role in determining what services will be reimbursed with federal funds.
In this regard:

a. Providers must provide economical medical services and then provide such

services only where medically necessary. 42 U.S.C. § 1320c-(a)(1).

FALSE CLAIMS ACT COMPLAINT
8

Case 2:14-cv-02674-SRB Document1 Filed 12/12/14 Page 9 of 28

b. Providers must provide evidence that the service is medically necessary as
appropriate. 42 U.S.C. § 1320c -5(a)(3).
¢c. Providers must ensure that services provided are not substantially in excess of the

needs of such patients. 42 U.S.C § 1320a-7(b)(6)&(8).

Utilization Review
30. The law imposes specific and extensive obligations on all providers (including
hospitals) for assuring that services are medically necessary and supported by evidence of medical
necessity. 42 U.S.C. § 1395x(k) requires that hospitals have a utilization review plan that at

minimum contains the following four elements:

1. Review, on a sample or other basis, of admissions to the institution, the duration of
stays therein, and the professional services (including drugs and biologicals)
furnished (A) with respect to the medical necessity of the services, and (B) for the
purpose of promoting the most efficient use of available health facilities and
services.

2. Review to be made by a committee composed of two or more physicians, with or
without participation of other professional personnel.

3. Review, in each case of inpatient hospital services or extended care services
furnished to such an individual during a continuous period of extended duration, as
may be specified in regulations.

4. Prompt notification to the institution, the individual, and his attending physician of
any finding (made after opportunity for consultation to. such attending physician) by
the physician members of such committee or group that any further stay in the
institution is not medically necessary.

31. Reviews may be conducted on a sample basis, except that the utilization review
committee must review all cases reasonably assumed by the hospital to be outlier cases because the
extended length of stay exceeds the threshold criteria for the diagnosis. 42 C.F.R. §§ 482.30(c) and
(e). Federal regulations detail the requirements further in 42 CFR § 482.30 entitled “Conditions of
Participation: Utilization Review.”

32. 42 C.F.R. §489.230 permits the hospital to have an agreement with a quality

improvement organization (QIO) to perform utilization review. Most hospitals comply with the UR

FALSE CLAIMS ACT COMPLAINT
9

27

28

Case 2:14-cv-02674-SRB Document1 Filed 12/12/14 Page 10 of 28

requirement by means of an agreement with the QIO, and if so, the regulation at 42 CFR 489.230(e)
requires a hospital to maintain an agreement with a QIO to review admission, quality,
appropriateness and diagnostic information. In this case, there must be a signed and dated
agreement.

33. Hospitals frequently use “level of care criteria” as an objective tool to help make
decisions regarding whether an individual's condition is severe enough, or the services provided are
intense enough, to be admitted to a specific level of care. One respected product is called
“InterQual,” a specific utilization review screening criteria product published by the Payor division
of McKesson. Other screening criteria sets used to evaluate admission appropriateness are, for
example, Milliman Care Guidelines and MCAP Clinical Review Criteria.

Inpatient versus Outpatient Determination

34. There are ample Medicare regulations explaining when inpatient admission is

appropriate versus outpatient care. An inpatient requires definitive and a high level of care.

Medicare Benefit Policy Manual (CMS Pub. 100-2), ch. 1, § 10 provides:

An inpatient is a person who has been admitted to a hospital for bed occupancy for
purposes of receiving inpatient hospital services. Generally, a patient is considered
an inpatient if formally admitted as an inpatient with the expectation that he or she
will remain at least overnight and occupy a bed even though it later develops that the
patient can be discharged or transferred to another hospital and not actually use a
hospital bed overnight.

35. CMS identifies procedures that are typically provided only in an inpatient setting,
and therefore would not be paid by Medicare under the Outpatient Prospective Payment System
(OPPS). These procedures comprise what is referred to as the "inpatient only list." The inpatient
only list specifies those services that will only be paid when provided in an inpatient setting because
of the nature of the procedure and the need for at least 24 hours of postoperative recovery time or
monitoring before the patient can be safely discharged. These procedures are assigned a status code
of "C" and hospitals are advised to admit beneficiaries requiring these procedures to receive

payment. Each year, CMS, with input from the APC Panel, reviews the inpatient only list using

FALSE CLAIMS ACT COMPLAINT
10

Case 2:14-cv-02674-SRB Document1 Filed 12/12/14 Page 11 of 28

specific criteria to determine whether any procedures should be moved from the inpatient only list
and assigned to an APC (which is the payment system for outpatient procedures). CMS updates the
list periodically, in large part to remove procedures from the list that staff determines can now be
safely performed on an outpatient basis.

36. Simply put, outpatient admission is appropriate unless the procedure is on the
Medicare Inpatient Only List (explained above), or, if the patient's condition, signs and/or
symptoms indicate the need for the more intensive inpatient setting. The medical records should
indicate that the patient admitted as an inpatient was individually assessed and that there were
comorbidities or other factors meriting an inpatient stay.

37. Medicare refers to the guidelines for medical necessity for inpatient admission
published by InterQual. InterQual guides hospitals to look at the severity of the patient's condition
and intensity of the procedures in making the medical necessity determination.

38. | When a hospital, through its credentialing committee, makes the decision to allow
patients to be admitted to the hospital, the hospital should consider 1) the severity of the signs and
symptoms exhibited by the patient, 2) the medical predictability of something adverse happening to
the patient, 3) the need for diagnostic studies that appropriately are outpatient services (i.e., their
performance does not ordinarily require the patient to remain at the hospital for 24 hours or more) to
assist in assessing whether the patient should be admitted: and 4) the availability of diagnostic
procedures at the time when and at the location where the patient presents. Hospital Manual, Ch. II

§210 Covered Inpatient Hospital Services.

Condition Code 44
39. In Transmittal 299 (effective date of April 1, 2004), CMS established Condition
Code 44 for use by hospitals when billing for services that should have been outpatient in the first
instance. For instance, a physician may order a beneficiary to be admitted to an inpatient bed, but

upon reviewing the case later, the hospital’s utilization review committee determines that an

FALSE CLAIMS ACT COMPLAINT
1]

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28

Case 2:14-cv-02674-SRB Document1 Filed 12/12/14 Page 12 of 28

inpatient level of care does not meet the hospital’s admission criteria. The articulated policy set

forth in the transmittal is:

1. In cases where a hospital utilization review committee determines that an
inpatient admission does not meet the hospital’s inpatient criteria, the hospital may
change the beneficiary’s status from inpatient to outpatient and submit an outpatient
claim (TOBs 13X, 85X) for medically necessary Medicare Part B services that were
furnished to the beneficiary, provided all of the following conditions are met:

a. The change in patient status from inpatient to outpatient is made prior to discharge
or release, while the beneficiary is still a patient of the hospital;

b. The hospital has not submitted a claim to Medicare for the inpatient admission;

c. A physician concurs with the utilization review committee’s decision; and

d. The physician’s concurrence with the utilization review committee’s decision is
documented in the patient’s medical record.

2. When the hospital has determined that it may submit an outpatient claim
according to the conditions described above, the entire episode of care should be
treated as though the inpatient admission never occurred and should be billed as an
outpatient episode of care.

40. On August 28, 2009, CMS included minor revisions to those sections of Chapter 1 of
the MCPM that relate to Condition Code 44.

The conditions for the use of Condition Code 44, as stated in section 50.3.2 below,
require physician concurrence with the UR committee decision. For Condition Code
44 decisions, in accordance with 42 CFR §482.30(d)(1), one physician member of
the UR committee may make the determination for the committee that the inpatient
admission is not medically necessary. This physician member of the UR committee
must be a different person from the concurring physician, who is the physician
responsible for the care of the patient.

Observation Status versus Inpatient Admission

41. Observation care is a hospital outpatient service that is reported using HCPCS code
G0378 (Hospital observation services, per hour). Hospitals report outpatient observation services,
which are commonly provided in association with a hospital clinic visit, emergency department
visit, or other major service, on hospital outpatient claims, just like other outpatient services.
Physicians order observation care, defined as clinically appropriate services, including ongoing
short-term treatment, assessment, and reassessment furnished in order for the physician to
determine whether the beneficiary will require further treatment as an inpatient or whether the

beneficiary may be safely discharged from the hospital. It is commonly assigned to patients who

FALSE CLAIMS ACT COMPLAINT
12

Case 2:14-cv-02674-SRB Document1 Filed 12/12/14 Page 13 of 28

present to the emergency department and require a significant period of treatment or monitoring

before an admission or discharge decision can be made.

Medicare Benefit Policy Manual (CMS Pub. 100-2), ch. 1 § 70.4.A provides:
"Observation services are those services furnished by a hospital on the hospital's
premises, including use of a bed and periodic monitoring by a hospital's nursing or
other staff which are reasonable and necessary to evaluate an outpatient's condition
or determine the need for possible admission to the hospital as an inpatient. . . ."

42. Medicare Claims Processing Manual (CMS Pub. 100-4), ch. 4, § 290.1 repeats the
definition of "observation services" and states that such services usually do not exceed one day,

sometimes may span two days, and "only in rare and exceptional cases" span more than two days.

As stated by CMS in 65 Fed.Reg. 18434:

Routinely billing an observation stay for patients recovering from outpatient surgery
is not allowed under current Medicare rules nor will it be allowed under the hospital
outpatient PPS. As we state in section III.C.5 of this preamble, one of the primary
factors we considered as an indicator for the "inpatient only" designation is the need
for at least 24 hours of postoperative care.

Overview of Allegations

43. Defendants were repeatedly put on notice that Defendants had poor to non-existent
case management protocols and utilization review processes, such that the foreseeable result would
be a significant number of inpatient admissions that lacked medical necessity. Not only were the
appropriate mechanisms to ensure medical necessity not in place, Defendants created an
environment where protecting revenue was given precedent over compliance and resisted efforts to
put the necessary safeguards in place.

44. Medicare and Medicaid pays hospitals for inpatient admissions based upon the DRG,
and inclusive in this cost to Medicare and Medicaid is the hospital administrative utilization review
functions required in 42 C.F.R. § 482.30. Defendants knowingly failed to be the medical necessity
gatekeepers of their own hospital doors, resulting in increased costs to Government Healthcare

Programs and putting patients in serious risk of morbidity. In doing so, Defendants:

FALSE CLAIMS ACT COMPLAINT
13

Case 2:14-cv-02674-SRB Document1 Filed 12/12/14 Page 14 of 28

a. Submitted claims to Government Healthcare Programs for inpatient admissions
without proper internal review sufficient utilization review resulting in patient
admissions that lacked medical necessity.

b. Submitted claims to Government Healthcare Programs for inpatient admissions
that lacked medical necessity. Oftentimes, these inpatient admissions included
procedures and other services that were not medically necessary for financial
gain.

ce. Submitted claims for outpatient services that were for procedures, or other
services that were not medically necessary.

d. Knowingly failed to refund overpayments related to multiple audits when the

overpayments were clearly identified.

Reasons for the Systematic Violations of the False Claims Act

45. While Defendants have written corporate policies, distributed by Vanguard to all
relevant employees, and have articulated corporate policies that are responsible and in compliance
with the intent and letter of the law, in truth, the Defendants’ practices do not in fact comply.
When, for example, allegations or documented evidence of lack of compliance was brought to the
attention of Abrazo senior leadership and management, investigation and follow-up was lacking.
Even with a formal reporting of widespread violations of the False Claims Act by Relator Hawkins
to the Abrazo Compliance Officer as early as 2011, and assurances given to Relator that the issues
were being addressed, the fraud and False Claims Act violations described herein continue.

46. | When Relator joined Abrazo Health in 2010, some of the Abrazo Hospitals did not
have functioning UR Committees as required by law. Abrazo Health hospitals outsourced secondary
review determinations and utilization management to a physician advisor company or, in effect,
relied upon Relator Hawkins and her case management team to be the UM Committee rather than

having internal physician oversight. At Arrowhead Hospital, a lone hospitalist served the function

FALSE CLAIMS ACT COMPLAINT
14

Case 2:14-cv-02674-SRB Document1 Filed 12/12/14 Page 15 of 28

as the UM Committee. Even after Relator Hawkins spent years pushing all Abrazo Health hospitals
to align with Medicare Utilization Review requirements, some hospitals still do not have a
functioning UR Committee, do not review outlier cases, and do not have designated Physician
Advisors. In several instances, Relator Hawkins conveyed this information to senior leadership with
no relative change in practice. In one instance, Relator Hawkins requested the then Regional CMO,
to review some troubling cases and he refused stating he did not do case review.

47.  Atall material times, Defendants intentionally and knowingly failed to meet the
Utilization Review Condition of Participation as required by 42 U.S.C. § 1395 x(k) and 42 C.F.R.
§482.30 in the government programs. Defendants knowingly and falsely certified on multiple
occasions that they had met those conditions of participation.

48. Defendants created a culture within which financial objectives were given strategic
priority over ensuring compliance with Government Healthcare Programs and one in which the
hospital CFO’s influenced medical decision making for optimal financial gain. The Service Line
Commnittees standards of practiced were developed / reviewed co-chaired by Finance Officers rather
than greater involvement of medical practitioners. As the case management leader for the market,

Relator was not invited to sit on these committees and in fact had to demand a place at the table.

SUBSTANTIVE ALLEGATIONS

A. Claims for Medically Unnecessary One-Day and Other Short Stays

49. From the six years preceding the filing of Relator’s complaint to present, Defendants
systematically and routinely submitted claims for inpatient stays that lacked medical necessity.
Non-covered hospital admissions usually involved one-day stays, but also included multi-day short
stays, from cardiac/vascular cases and surgical cases, to medical cases.

50. __ In the instance of West Valley Hospital, the CEO demanded the nursing staff to
change any observation admission to inpatient with case management or UM Committee review

resulting in an extremely high volume of inappropriate inpatient admissions and false claims. The

FALSE CLAIMS ACT COMPLAINT
15

27

28

Case 2:14-cv-02674-SRB Document1 Filed 12/12/14 Page 16 of 28

case management Director was reportedly “letting some cases go for billing” during the Vanguard
required one stay pre-billing review, “because the hospital needed the revenue.”

51. In February 2012, Relator Hawkins notified Vanguard Director of Case Management
of the one day stay issue and requested that Senior Vice President of Financial Operations Neal
Somaney be made aware of about the high number of inappropriate one-day stays at Abrazo Health
hospitals. After several months, Somaney and his EVP of Financial Operations Alan Thomas
decided to retain respected internist Dr. Janis Wiener, to conduct an audit of one-day claims
submitted by Abrazo Health hospitals during the month of March 2012. Somaney and Thomas
presented the results of this audit via the July 24, 2012 PowerPoint titled “Abrazo One Day Stay
External Audit Results.” The final slide of the presentation revealed a 30% error rate and a

“Financial Impact” for this lone month of nearly $1.4 million:

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FALSE CLAIMS ACT COMPLAINT
16

Case 2:14-cv-02674-SRB Document1 Filed 12/12/14 Page 17 of 28

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52. The highest levels of Vanguard and Abrazo Health attended the meeting,

including:
e Vanguard Chief Medical Officer Dr. Mark Montoney
Vanguard VP of HIM Operations Meredith Larsen
Vanguard EVP of Financial Operations Alan Thomas
Vanguard SVP of Financial Operations Neal Somaney
Abrazo Health CFO Stanley McLemore
Abrazo Health VP of Revenue Cycle Angie Brnovich
Abrazo Health Director Clinical & Financial Reporting Sheldon Shaw
Abrazo Health VP of Clinical Transformation Daniel Loch
Abrazo Health Chief Medical Officer Timothy Jahn

FALSE CLAIMS ACT COMPLAINT
17

Case 2:14-cv-02674-SRB Document1 Filed 12/12/14 Page 18 of 28

53. In the aftermath of this one-day stay audit, SVP of Financial Operations Neal
Somaney sent an August 17, 2012 email to CFO Stanley McLemore, with copies to Relator

Hawkins and others. In this email Mr. Somaney states (in part):

Also worthy of mention here is that based on the one day stay review
conducted, there are some significant operational improvements and
education that we need to facilitate to our ED Physicians, Hospitalists,
Surgeons for post Anesthesia patients and UM teams in order to
prevent denials for incorrect status. We need to very quickly begin
addressing these issues. My understanding is that Asja, Stanley,
Kathleen and Dr. Dagher have put together a plan to implement some
changes to address the gaps that were identified in this area. I look
forward to hearing the progress being made in this area as well.

54. However, even with knowledge of the one-day stay problems reaching the highest
levels, no “significant operational improvements” occurred at Abrazo Health hospitals in the near
future, and financial objectives continued to trump the needs of Utilization Review despite the
diligent efforts of Relator Hawkins to make the required changes.

55. The lack of medical necessity for one-day stays was particularly prevalent with
diagnostic and therapeutic cardiac and peripheral catheterizations, angiograms, neurointerventional
angiograms, stents’, and other cardiac procedures, and hospital administrators were often involved.
For instance, Medicare does not cover carotid artery stenting in high surgical risk, asymptomatic
patients with stenosis <80%. However, at Arizona Heart, if the medical record reflected stenosis
less than 80%, the CEO at Arizona Heart would change or cause to change the medical records to

change the percentage from less than 80%, to greater than 80%, to justify carotid stenting

procedures.

' A cardiac stent is a device used to prop open a blocked artery. After cardiologists identify a blockage through cardiac
catheterization, they often perform an angioplasty and insert stents (or drug-eluting stents) so blood can pass to
damaged or at-risk heart muscle. When CMS implemented the outpatient prospective payment system in 2000,
policymakers determined that cardiac stent insertion could be performed on an outpatient basis depending on the
circumstances.

FALSE CLAIMS ACT COMPLAINT
18

Case 2:14-cv-02674-SRB Document1 Filed 12/12/14 Page 19 of 28

56. Claims for medically unnecessary inpatient stays were most prevalent with cardiac

associated cases, but ran the full gamut of patient diagnosis and procedures. They included but are

not limited to the following MS-DRGs:

034 Carotid artery stent procedure with MCC

035 Carotid artery stent procedure with CC

036 Carotid artery stent procedure without CC/MCC

166/168 Other respiratory system operating room procedures with MCC, with CC or without
CC/MCC (e.g. transbronchial lung biopsy)

167 Other Respiratory System OR Procedures w/CC

168 Other Respiratory System OR Procedures w/o CC/MCC

177 Respiratory Infections & Inflammations w/MCC

178 Respiratory Infections & Inflammations w/CC

179 Respiratory Infections & Inflammations w/o CC/MCC

190/192 Chronic obstructive pulmonary disease (COPD) with MCC, with CC or without
CC/MCC

207 Respiratory System diagnosis w ventilator support 96+ hours

208 Respiratory system diagnosis w ventilator support <96 hours

222 Cardiac defibrillator implant with cardiac cath with AMI, heart failure or shock with
MCC

223 Cardiac defibrillator implant with cardiac cath with AMI, heart failure or shock without
MCC

224 Cardiac defibrillator implant with cardiac cath without AMI, heart failure or shock with
MCC

225 Cardiac defibrillator implant with cardiac cath without AMI, heart failure or shock
without MCC

226 Cardiac defibrillator implant without cardiac cath with MCC

227 Cardiac defibrillator implant without cardiac cath without MCC

242 Permanent cardiac pacemaker implant with MCC

243 Permanent cardiac pacemaker implant with CC

244 Permanent cardiac pacemaker implant without CC/MCC

246 Percutaneous cardiovascular procedure with drug-eluting stent with MCC or 4+
vessels/stents

247 Percutaneous cardiovascular procedure with drug-eluting stent without MCC

248 Percutaneous cardiovascular procedure with non-drug-eluting stent with MCC or 4+
vessels/stents

249 Percutaneous cardiovascular procedure with non-drug-eluting stent without MCC
250 Percutaneous cardiovascular procedure without coronary artery stent with MCC

251 Percutaneous cardiovascular procedure without coronary artery stent without MCC
264 Other circulatory system operating room procedures

286/287—Circulatory disorders except AMI, with cardiac catheterization with MCC or
without MCC

FALSE CLAIMS ACT COMPLAINT
19

Case 2:14-cv-02674-SRB Document1 Filed 12/12/14 Page 20 of 28

286 Circulatory disorders except acute myocardial infarction, with cardiac catheterization
with MCC

287 Circulatory disorders except acute myocardial infarction, with cardiac catheterization
without MCC

291/292/293 Heart Failure/Shock w MCC/w CC/wo CC/MCC2 (e.g. congestive heart
failure)

313 Chest Pain

343 Appendectomy w/o Complicated Principal Diag w/o CC/MCC

355 Hernia Procedures Except Inguinal & Femoral w/o CC/MCC

377/379 Gastrointestinal hemorrhage with MCC, CC or without CC/MCC

378 G.I. Hemorrhage w/ CC

381 Complicated Peptic Ulcer w/ CC

392 Esophagitis, Gastroent & Misc Digest Disorders w/o MCC

395 Other Digestive System Diagnoses w/o CC/MCC

419 Laparoscopic Cholecystectomy w/o C.D.E. w/o CC/MCC

446 DISORDERS OF THE BILIARY TRACT W/O CC/MCC

463 Wound debridement & skin graft except hand for musculoskeletal connective tissue
disease w MCC

464 Wound debridement & skin graft except hand for musculoskeletal connective tissue
disease w CC

489 Knee Procedures w/o PDX of Infection w/o CC/MCC

501 Soft Tissue Procedures w/CC

551 Medical Back Problems w/MCC

552 Medical Back Problems w/oMCC

573 Skin graft &/or debridement for skin ulcer or cellulitis w/MC

574 Skin graft &/or debridement for skin ulcer or cellulitis w/CC

575 Skin graft &/or debridement for skin ulcer or cellulitis w/o CC/MCC

581 Other Skin, Subcut Tiss & Breast Proc w/o CC/MCC

627 Thyroid, Parathyroid & Thyroglossal Procedures w/o CC/MCC

640/641 Nutritional & Metabolic disorders WMCC/woMCC (correct coding) (e.g.
dehydration)

669 Transurethral Procedures w/CC

675 Other Kidney & Urinary Tract Procedures w/o CC/MCC

682/684 Renal failure with MCC, with CC or without CC/MCC

689/690 Kidney and urinary tract infections with MCC or without MCC

694 Urinary Stones w/o Esw Lithotripsy w/o MCC

714 Transurethral Prostatectomy w/o CC/MCC

730 Other Male Reproductive System Diagnoses w/o CC/MCC

748 Female Reproductive System Reconstructive Procedures

811/812 Red blood cell disorders with MCC or without MCC

853 Infectious & parasitic diseases w OR procedure w/MCC

854 Infectious & parasitic diseases w OR procedure w/CC

855 Infectious & parasitic diseases w OR procedure w/o CC/MCC

870 Septicemia w MV 96+ hours

871 Septicemia w/o MV 96+ hours w/MCC

FALSE CLAIMS ACT COMPLAINT
20

Case 2:14-cv-02674-SRB Document1 Filed 12/12/14 Page 21 of 28

- 872 Septicemia w/o MV 96+ hours w/o MCC
981Extensive OR procedure unrelated to principal diagnosis w/MCC
982 Extensive OR procedure unrelated to principal diagnosis w/CC
983 Extensive OR procedure unrelated to principal diagnosis w/oCC/MCC

57. Relator is also aware of medically unnecessary procedures occurring on an outpatient
basis. These occurred most commonly with physicians doing percutaneous cardiac, vascular and
neurovascular procedures (with and without therapy, such as stents or balloons or medicine).

a. For example, numerous angiograms were conducted even after negative stress
tests and other negative diagnostic indicators. In one instance during a medical
record claims / denials review with a payer Medical Director, Relator was told
that Abrazo cardiologists were performing procedures on patients that did not
need them. Relator was aware of this, pointing to a case in which the treadmill
was negative and the subsequent cardiac catheterization was negative.

b. Catheterizations were also a common procedure performed on unknowing
patients without medical necessity. In fact, at Abrazo Health, the negative
catheterization rate in comparison to national benchmarks, were significantly
higher.

c. Computed tomography (CT) scans were commonly ordered without appropriate
medical necessity. This practice, in particular, endangered patients of all ages due
to the unnecessary radiation.

58. The decision of whether to admit a patient, treat the patient in observation status, or
discharge the patient has significant financial ramifications for the hospital. Hospitals generally
derive the bulk of their revenues from payments for inpatient care and cardiac procedures top the
list of financially lucrative admissions. Hospitals are paid thousands of dollars more by Medicare to
treat a patient who has been billed as an admitted inpatient than one who has been billed as an

outpatient or as a patient under observation.

FALSE CLAIMS ACT COMPLAINT
21

27

28

Case 2:14-cv-02674-SRB Document1 Filed 12/12/14 Page 22 of 28

59. The Medicare Program Integrity Manual provides that “[i]npatient care, rather than
outpatient care, is required only if the beneficiary’s medical condition, safety, or health would be
significantly and directly threatened if care was provided in a less intensive setting.” Chapter 6,
Section 6.5.2.

60. From a medical standpoint, it is especially important that physicians hospitalize
elderly persons only when inpatient treatment is essential to the well-being of the patient.
Hospitalization poses significant physical, psychological and emotional risks for the elderly. Older
people generally have more compromised immune systems and therefore are far more susceptible to
hospital-acquired infections. Older adults also are more likely to experience adverse drug reactions
during hospitalization, because they are more susceptible to the side effects of many drugs and are
often treated with multiple medications. Another serious risk factor for the elderly patient is hospital
delirium — a condition which according to the American Geriatrics Society affects 1 in 3
hospitalized patients over age 70. Patients who experience hospital delirium usually have extended
hospital stays and are at an elevated risk to being placed in a nursing home, experiencing falls,
dementia or death. With cardiac procedures in particular, the elderly with co-morbid conditions,
such as renal insufficiency or failure, are especially vulnerable to the effects of dye/contrast used in
many of the unnecessary cardiac procedures.

61. | When patients are improperly admitted as inpatients rather than treated as
outpatients, the charges included in the hospital’s interim payment claims and in cost reports are
unlawfully increased.

62. Both Medicare and Medicaid programs rely on physicians to exercise their unbiased
medical judgment in determining whether a patient should be hospitalized or treated on an
outpatient basis.

Failure to Refund Known Overpayments
63. Defendants have been on notice that they have been admitting patients as inpatients

without medical necessity, a practice that has led to multiple instances of overpayment, of which

FALSE CLAIMS ACT COMPLAINT
22

Case 2:14-cv-02674-SRB Document1 Filed 12/12/14 Page 23 of 28

Defendant has a duty to disclose. Hospitals enrolled in Government Healthcare Programs have long
reconciled and returned overpayments through various ongoing and post-payment audit and self-
disclosure mechanisms. Defendants however, in violation of 31 U.S.C. §3729 (a)(1)(G) knowingly
concealed or knowingly and improperly avoided an obligation to pay or transmit money or property
to the Government.” In doing so, Defendants also violated the Patient Protection and Affordable
Care Act of 2010 (PPACA), Pub. L. 111-148, 124 Stat. 119 (2010), and Health Care and Education
Affordability Reconciliation Act, Pub. L. 111-152, 124 Stat. 1029 (2011) (collectively referred to as
“PPACA”). In accordance therewith, on March 23, 2010, Congress injected a 60-day timeline upon
which providers and suppliers (receiving government funds, such as Medicare and Medicaid
reimbursements), must report and refund government “overpayments” they have received. The
provision, 42 U.S.C. §1320a-7k(d)(2) provides:

An overpayment must be reported and returned... by the later of —

(A) _ the date which is 60 days after the date on which the overpayment was identified; or

(B) the date any corresponding cost report is due, if applicable.

64. PPACA was clear that an overpayment retained after the deadline for reporting and
returning and overpayment is considered an obligation, for purposes of “reverse” false claims
liability under the FCA. To avoid inconsistent, narrow interpretations of the term “overpayment,”
Congress broadly defined “overpayment” to mean “any funds that a person receives or retains
under” Medicare or Medicaid to which the person, “after applicable reconciliation, is not entitled.”
42 U.S.C. §1320a-7k(d)(4)(B).

65. In February 2012, Relator Hawkins elevated her concerns to then Abrazo Health’s
parent company, Vanguard, by contacting Senior Vice President of Financial Operations Neal

Somaney. By June 2012, Somaney had determined that Relator’s concerns were worthy of an

? The FCA, as amended in 2009, has no presentment and no specific identification of claims required.

FALSE CLAIMS ACT COMPLAINT
23

27

28

Case 2:14-cv-02674-SRB Document1 Filed 12/12/14 Page 24 of 28

extensive audit, and Relator, as a McKesson-certified InterQual reviewer with a national reputation
as an expert reviewer, should oversee the audit.

66. The audit purported to review all 2,945 one-stay claims submitted to Medicare Part
A from January 1, 2011 through March 31, 2013.° Relator Hawkins drafted an overview of the
planned audit, which was later adopted by her supervisor. In effect, the audit was three separate
audits, for they looked at three categories of cases: Medical (1,833 cases), Cardiac (591 cases), and
Surgical/GI (521 cases).

67. | By summer 2014, the audit results showed error rates that fully corroborated Relator
Hawkins’ concerns that Defendants had been routinely submitting inappropriate one-day stay
claims to Government Healthcare Programs: Medical (17.5% error rate), Cardiac (59.2% error rate),
and Surgical/GI (30% error rate). Defendants have not returned all of these identified funds to the
government and are unlikely to do so in the future.

68. Multiple internal audits resulted in specific, definitive, and ascertainable

overpayments known to Defendant to be owed to Government Healthcare Programs.

COUNT ONE: Knowingly Causing False Claims to be Presented
[31 U.S.C. § 3729(a)(1)(B)] [31 U.S.C. § 3729(a)(2)]

69. Plaintiff re-alleges and avers the allegations contained in paragraphs 1 through 68, as
if fully set forth herein. This Count is a civil action against defendants for violating 31 U.S.C. §
3729(a)(1)(B) (post-May 2009 amendment) and 31 U.S.C. § 3729(a)(2) (pre-May 2009
amendment).

70. By engaging in the conduct set forth herein, Defendants have knowingly presented or

caused to be presented false or fraudulent claims for payment or approval, in violation of 31 U.S.C.

3 There were originally nearly 4,000 claims for one-day stays during this time period, but Neal Somaney made the
decision to remove approximately 900 claims that had been previously deemed appropriate by secondary review
company Executive Health Resources (EHR). Relator believes that a percentage of these 900 claims are medically
unnecessary, so the audit results are deflated.

FALSE CLAIMS ACT COMPLAINT
24

27

28

Case 2:14-cv-02674-SRB Document1 Filed 12/12/14 Page 25 of 28

§ 3729(a)(1)(B) (post-May 2009 amendment) and 31 U.S.C. § 3729(a)(2) (pre-May 2009
amendment).
71. Because of Defendants’ conduct under this Count, the United States has suffered

substantial actual damages.

COUNT TWO: False Statements or Records
[31 U.S.C. §3729(a)(1)(B)] [31 U.S.C. §3729 (a)(2)]

72. Plaintiff re-alleges and avers the allegations contained in paragraphs 1 through 68, as
if fully set forth herein. This Count is a civil action against defendants for violating 31 U.S.C.
§3729(a)(1)(B) (post-May 2009 amendment) and 31 U.S.C. §3729 (a)(2) (pre-May 2009
amendment).

73. By engaging in the conduct set forth herein, Defendants have knowingly caused to
be made or used, false records or statements material to false or fraudulent claims, within the
meaning of § 3729.

74. Because of Defendants’ conduct under this Count, the United States has suffered

substantial actual damages.

COUNT THREE: Conspiracy to Violate False Claims Act
(31 U.S.C. §3729(a)(1)(C)] [31 U.S.C. §3729 (a)(3)]

75. Plaintiff re-alleges and avers the allegations contained in paragraphs 1 through 68, as
if fully set forth herein. This Count is a civil action against defendants for violating 31 U.S.C.
§3729(a)(1)(C) (post-May 2009 amendment) and 31 U.S.C. §3729 (a)(3) (pre-May 2009
amendment).

76. Defendants have conspired with one another and others to present false or fraudulent

claims for payment and to make false records and statements material to false or fraudulent claims.

FALSE CLAIMS ACT COMPLAINT
25

27

28

Case 2:14-cv-02674-SRB Document1 Filed 12/12/14 Page 26 of 28

77. Because of Defendants’ conduct under this Count, the United States has suffered

substantial actual damages.

COUNT FOUR: False Claims Act Anti-Retaliation Provision
31 U.S.C. § 3730(h)

78. Plaintiff Kathleen Hawkins re-alleges and avers the allegations made in Paragraphs 1
through 68, as if fully set forth herein.

79. Defendants have a duty under the False Claims Act, 31 U.S.C. § 3730(h), to refrain
from taking retaliatory actions against individuals who take lawful actions in furtherance of a False
Claims Act action, or who take actions to stop violations of the False Claims Act.

80. Relator took lawful actions to stop violations of the False Claims Act, and in
furtherance of a False Claims Act action, including but not limited to investigation for, testimony
for, or assistance in an action filed under this section and, as such, engaged in protected activity
under the False Claims Act and other laws. In addition, by raising the issues identified in this
complaint to the highest levels of Defendants, she took proactive steps to stop the continued filings
of claims to Government Healthcare Programs that were violative of the False Claims Act.

81. Since 2012, Defendants harassed and/or discriminated against Relator in the terms
and conditions of employment. As she attempted to fulfill her responsibilities as the Vice President
of Case Management and, later, as Senior Specialist Case Management, she uncovered system-wide
problems with medically unnecessary procedures and inpatient admissions that crossed multiple
service lines and providers. When Relator encouraged Defendants to assess and address the
underlying problems, senior management publicly chastised her in front of her direct reports and
colleagues and portrayed her as incompetent. CFOs of some Abrazo Hospitals blamed Relator for
“denying” inpatient claims by not submitting them to Medicare for payment, even when they knew

the claims were ineligible for payment.

FALSE CLAIMS ACT COMPLAINT
26

Case 2:14-cv-02674-SRB Document1 Filed 12/12/14 Page 27 of 28

82. Even so, because of Relator’s unrelenting efforts, Defendants’ Executive and Senior
Vice Presidents of Financial Operations finally agreed to conduct an extensive audit in 2012,
overseen by Relator. In the summer of 2014, the final results of this audit were presented to
Defendants’ senior leadership, fully corroborating Relator’s long-shared knowledge that Defendants
were routinely submitting improper claims to Medicare. Instead of acknowledging Relator for her
efforts in assessing the problem, Defendants have since largely isolated Relator, cutting her off from
any actual job responsibilities and in fact making changes to how the cardiac portion of the audit
was completed without her involvement or knowledge. Today, Relator Hawkins finds herself in a
job with no responsibilities, no direct reports, and no purpose and no integration with the rest of the
team.

83. Relator was discriminated against in the terms and conditions of her employment by
Defendants, by and through its officers, agents, and employees because of lawful acts done by her
in the furtherance of her efforts to bring a False Claims Act action and to stop violations of the False
Claims Act.

84. The actions of Defendants damaged and will continue to damage Relator in violation
of 31 U.S.C. § 3730(h), in an amount to be determined at trial.

85. Pursuant to 31 U.S.C. § 3730(h), Relator is entitled to litigation costs and reasonable

attorneys’ fees incurred in the vindication of her reputation and the pursuit of her retaliation claims.

By: slval No cam

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FALSE CLAIMS ACT COMPLAINT
27

27

28

Case 2:14-cv-02674-SRB Document1 Filed 12/12/14 Page 28 of 28

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FALSE CLAIMS ACT COMPLAINT
28

